                           UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NORTHEASTERN DIVISION


 DANIEL GENE BOZE, et al.,

        Plaintiffs,                                Case No. 2:23-cv-00068

 v.                                                Chief Judge Waverly D. Crenshaw, Jr.
                                                   Magistrate Judge Alistair E. Newbern
 UNITED STATES DEPARTMENET OF
 AGRICULTURE, et al.,

        Defendants.


                                             ORDER

       On March 5, 2024, Plaintiffs Daniel Boze, Jimmy Boze, and the Estate of Mary Boze filed

a motion to continue the initial case management conference set on March 8, 2024. (Doc. No. 9).

The motion is GRANTED. The initial case management conference is CONTINUED to March

11, 2024, at 9:30 a.m. Counsel for each party shall call (888) 557-8511 and enter access code

7819165# to participate.

       The parties are reminded of their obligation to file a joint proposed case management order

no later than three business days before the conference. The parties shall also email a Word version

of the joint proposed case management order to Newbern_Chambers@tnmd.uscourts.gov.

       It is so ORDERED.



                                                     ____________________________________
                                                     ALISTAIR E. NEWBERN
                                                     United States Magistrate Judge




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